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                                                         Tuesday, 20 October, 2020 10:55:11 AM
                                                                   Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
      CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

GREGORY J. WALKER,                     )
                                       )
            Plaintiff,                 )
                                       )
      v.                               )    Case No. 20-cv-3096
                                       )
ANDREW SAUL,                           )
                                       )
            Defendant.                 )

                                     OPINION
TOM SCHANZLE-HASKINS, U.S. MAGISTRATE JUDGE:

      Pursuant to the Joint Stipulation to Remand to the Commissioner

(d/e 19), the decision of the Commissioner is REVERSED and

REMANDED pursuant to 42 U.S.C. § 405(g) sentence four. On remand,

the Appeals Council shall remand the matter to an Administrative Law

Judge (ALJ) for further proceedings. On such remand, the ALJ shall

properly evaluate the opinion evidence and construct a residual functional

capacity supported by substantial evidence to evaluate Plaintiff’s ability to

perform his past relevant work or other work that exists in the national

economy. This case is closed before this Court.

ENTER: October 20, 2020

                               s/ Tom Schanzle-Haskins
                           UNITED STATES MAGISTRATE JUDGE
